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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 JOSEPH CARTER,
                                            CIVIL ACTION FILE NO.
       Plaintiff,
                                            ______________________________
 v.
                                            REMOVED FROM STATE COURT
 HEARTLAND EXPRESS, INC. OF                 OF FULTON COUNTY
 IOWA; and MARK LAROCQUE,                   CIVIL ACTION FILE NO.
                                            21EV002677
       Defendants.


      DEFENDANTS' NOTICE OF REMOVAL TO UNITED STATES
                      DISTRICT COURT


      TO: The Honorable Judges of the United States District Court for the Northern

District of Georgia, Atlanta Division:

      COME NOW, HEARTLAND EXPRESS, INC OF IOWA and MARK

LAROCQUE (hereinafter "Defendants"), and file the following Notice of Removal

to United States District Court, showing the Court as follows:

1.    A civil action was filed on April 30, 2021, and now is pending in the State

Court of Fulton County, State of Georgia, with the parties named and aligned as

stated in the caption of this document. That action is designated there as Civil Action
           Case 1:21-cv-02479-ELR Document 1 Filed 06/17/21 Page 2 of 7




File No.: 21EV002677. A true and accurate copy of the Complaint is attached as

Ex. "A".

2.    Defendant Heartland Express, Inc. was served through its registered agent on

May 19, 2021, which is the first time this Defendant had notice of this suit.

Defendant Mark Larocque has not yet been served with the Complaint. Therefore,

this notice of removal is timely filed.

3.    Defendants file herewith a copy of all process, pleadings, and orders received

by all Defendants in Civil Action File No.: 21EV002677, pursuant to 28 USC §1446,

attached hereto as Ex. "B".

4.    Defendant Mark LaRocque was, at the commencement of Civil Action File

No.: 21EV002677, and at all times since has been a citizen of the State of Tennessee.

(Compl. ¶25).

5.    Defendant Heartland Express, Inc. of Iowa is now, was at the commencement

of Civil Action File No.: 21EV002677, and at all times since has been a corporation

organized and existing under the laws of the State of Iowa.

6.    Defendant Heartland Express, Inc. of Iowa's principal place of business at the

time of filing Civil Action File No. 21EV002677 was, and at all times since has

been, 901 Heartland Way, North Liberty, Iowa 52317.

7.    Upon information and belief, Plaintiff is a citizen of the State of Florida.

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8.    In the Plaintiff's Demand, Plaintiff has alleged damages in the amount of

$375,000.00.

9.    Attached hereto is a copy of Defendants' Notice of Removal which will be

promptly filed in the State Court of Fulton County, State of Georgia, marked as

Exhibit "C".

      WHEREFORE, Defendants pray that the above action now pending against

them in the State Court of Fulton County, State of Georgia, be removed to this Court.

      This 17th day of June, 2021.


                                             HALL BOOTH SMITH, P.C.


                                             /s/ James E. Gilson
                                             JAMES E. GILSON
                                             Georgia Bar No. 001150
                                             BRIAN J. MANIKOWSKI
                                             Georgia Bar No. 541272
                                             SCOTT H. MOULTON
191 Peachtree Street, N.E.                   Georgia Bar No. 974237
Suite 2900                                   Counsel for Defendants
Atlanta, Georgia 30303-1775
(404) 954-5000
(404) 954-5020 Fax
DEFENDANT DEMANDS
TRIAL BY JURY




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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JOSEPH CARTER,
                                           CIVIL ACTION FILE NO.
       Plaintiff,
                                           ______________________________
v.
                                           REMOVED FROM STATE COURT
HEARTLAND EXPRESS, INC. OF                 OF FULTON COUNTY
IOWA; and MARK LAROCQUE,                   CIVIL ACTION FILE NO.
                                           21EV002677
       Defendants.


                        CERTIFICATE OF SERVICE


      The foregoing DEFENDANTS' NOTICE OF REMOVAL TO UNITED

STATES DISTRICT COURT and request for trial date is double spaced in 14

point Times New Roman font and complies with the type-volume limitation set forth

in Local Rule 7.1.



      This 17th day of June, 2021.

                                            HALL BOOTH SMITH, P.C.


                                            /s/ James E. Gilson
                                            JAMES E. GILSON
                                            Georgia Bar No. 001150
                                            Counsel for Defendants
                                       4
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Atlanta, Georgia 30303-1775
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DEFENDANT DEMANDS
TRIAL BY JURY




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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

JOSEPH CARTER,
                                                 CIVIL ACTION FILE NO.
              Plaintiff,
                                                 ______________________________
v.
                                                 REMOVED FROM STATE COURT
HEARTLAND EXPRESS, INC. OF                       OF FULTON COUNTY
IOWA; and MARK LAROCQUE,                         CIVIL ACTION FILE NO.
                                                 21EV002677
              Defendants.


                             CERTIFICATE OF SERVICE


       I hereby certify that on this day I have served a copy of the within and
foregoing DEFENDANTS' NOTICE OF REMOVAL TO UNITED STATES
DISTRICT COURT upon all parties to this matter by depositing same in the U.S.
Mail, proper postage prepaid, addressed to counsel of record as follows and/or filing
said document with Peach Court which will automatically send electronic
notification to the following:

                                     R. Sean McEvoy
                                Witherite Law Group, LLC
                            600 W. Peachtree St., NW, Suite 740
                                    Atlanta, GA 30308
                              Sean.mcevoy@witheritelaw.com

                            [SIGNATURE PAGE FOLLOWS]


         This 17th day of June, 2021.

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                                               HALL BOOTH SMITH, P.C.


                                               /s/ James E. Gilson
                                               JAMES E. GILSON
                                               Georgia Bar No. 001150
                                               Counsel for Defendants


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